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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE




 CONSUMER FINANCIAL PROTECTION
 BUREAU

            Plaintiff,

            v.

 THE NATIONAL COLLEGIATE MASTER
 STUDENT LOAN TRUST; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST
 2003-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2004-1;
 NATIONAL COLLEGIATE STUDENT                Case No. 17-1323 (MN)
 LOAN TRUST 2004-2; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST              FIRST AMENDED COMPLAINT
 2005-1; NATIONAL COLLEGIATE                FOR PERMANENT INJUNCTION
 STUDENT LOAN TRUST 2005-2;                 AND OTHER RELIEF
 NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2005-3; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST
 2006-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2006-2;
 NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2006-3; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST
 2006-4; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-1;
 NATIONAL COLLEGIATE STUDENT
 LOAN TRUST 2007-2; NATIONAL
 COLLEGIATE STUDENT LOAN TRUST
 2007-3; and NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-4,
 Delaware Statutory Trusts,

            Defendants.


                                INTRODUCTION

      1.    Plaintiff, the Consumer Financial Protection Bureau (“Bureau”), brings
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this action against the fifteen (15) National Collegiate Student Loan Trusts

(“Defendants,” or “NCSLTs”, or “the Trusts”) under sections 1031(a), 1036(a), 1054(a),

and 1055 of the Consumer Financial Protection Act of 2010 (“CFPA”), 12 U.S.C. §§ 5531,

5536(a), 5564(a), 5565, to obtain permanent injunctive relief, restitution, refunds,

disgorgement, damages, civil money penalties, and other appropriate relief for

Defendants’ violations of Federal consumer financial law in connection with Defendants’

servicing and collection of private student loan debt.

       2.     The Bureau has reviewed the debt-collection and litigation practices of the

fifteen Delaware statutory trusts that are Defendants in this action and the practices of

Defendants’ agents.

       3.     To collect on defaulted private student loans, Defendants’ agents filed

collections lawsuits on behalf of Defendants in state courts across the country. In

support of these lawsuits, Defendants’ agents executed and filed affidavits that falsely

claimed personal knowledge of the account records and the consumer’s debt and , in

many cases, personal knowledge of the chain of assignments establishing ownership of

the loans. In addition, Defendants’ agents filed at least 2,000 collections lawsuits on

Defendants’ behalf either without the documentation necessary to prove Trust

ownership of the loans or on debt that was time-barred. Finally, notaries for Defendants’

agents notarized more than 25,000 affidavits even though they did not witness the

affiants’ signatures.

                            JURISDICTION AND VENUE

       4.     The Court has subject-matter jurisdiction over this action because it is

brought under Federal consumer financial law, 12 U.S.C. § 5565(a)(1), presents a federal

question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C.


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§ 1345.

       5.     Venue is proper in this District because Defendants are located and do

business in this District. 12 U.S.C. § 5564(f).

                                       PLAINTIFF

       6.     The Bureau is an independent agency of the United States charged with

regulating the offering and provision of consumer financial products or services under

Federal consumer financial laws. 12 U.S.C. § 5491(a). The Bureau has independent

litigating authority to enforce Federal consumer financial laws, including the CFPA.

12 U.S.C. §§ 5531(a), 5564(a)–(b).

                                     DEFENDANTS

       7.     Defendants are any and all of the fifteen Delaware statutory trusts referred

to as the National Collegiate Student Loan Trusts (“NCSLTs” or “the Trusts ,” which are

the National Collegiate Master Student Loan Trust, NCSLT 2003-1, NCSLT 2004-1,

NCSLT 2004-2, NCSLT 2005-1, NCSLT 2005-2, NCSLT 2005-3, NCSLT 2006-1, NCSLT

2006-2, NCSLT 2006-3, NCSLT 2006-4, NCSLT 2007-1, NCSLT 2007-2, NCSLT 2007-

3, and NCSLT 2007-4) and their successors and assigns.

       8.     Defendants are “covered person[s]” under the CFPA, 12 U.S.C. §

5481(6).The CFPA defines “covered person” as “any person that engages in offering or

providing a consumer financial product or service” and “any affiliate of [such a person]

if such affiliate acts as a service provider to such person.” 12 U.S.C. § 5481(6).

Defendants are “person[s]” as defined by the CFPA because they are “trust[s]” and,

under Delaware law, unincorporated associations. 12 U.S.C. § 5481(19). Defendants

offer or provide a “consumer financial product or service ” because they engage in

“servicing loans, including acquiring, [and] purchasing” loans, which are themselves


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extensions of credit that are offered or provided for use by consumers primarily for

personal, family, or household purposes, and also engage in the collection of debt

related to these extensions of credit. 12 U.S.C. § 5481(5), (15)(A)(i), (x).

                               PROCEEDINGS TO DATE

       9.     This action was initially filed by the Bureau on September 18, 2017, along

with a proposed consent judgment seeking to settle the Bureau’s claims and a joint

motion by the Bureau and Defendants to approve the settlement. The filing of the

complaint and settlement was authorized by then Bureau Director Richard Cordray. At

the time of filing, the CFPA provided that the Director of the Bureau could be removed

from that position by the President of the United States for “inefficiency, neglect of duty,

or malfeasance in office.” 12 U.S.C. § 5491(c)(3).

       10.    From September 20 to October 10, 2017, seven parties who professed

interest in Defendants or the settlement filed motions to intervene in this action.

Briefing on the motions to intervene was completed by November 20, 2017.

       11.    In November 2017, Director Cordray resigned. From November 28, 2017,

until December 17, 2018, the Bureau was headed by an Acting Director appointed to fill

the vacancy. The Acting Director, Mick Mulvaney, was removable by the President at

will. During the Acting Director’s tenure, the Bureau continued to prosecute this action.

       12.    On July 10, 2018, counsel for Defendants moved to withdraw for non-

payment. The Court granted this request on July 16, 2018, and ordered Defendants to

retain new counsel within 30 days.

       13.    On September 20, 2018, this case was reassigned from Judge Gregory M.

Sleet to Judge Maryellen Noreika.

       14.    As of the date of reassignment, the initial complaint and motion to


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approve the proposed consent judgment had been pending for just over a year, the

motions to intervene had been pending for almost a year, Defendants had been without

counsel for over two months, and Defendants were more than a month delinquent in

complying with the Court’s order to retain new counsel.

      15.    On October 19, 2018, the Court granted the motions to intervene. On

November 1, 2018, the Court ordered the parties to propose a schedule for briefing the

motion to approve the consent judgment and for any related discovery.

      16.    On November 16, 2018, in the parties’ joint submission to the Court, the

Bureau argued that the Court should schedule briefing on disputed threshold legal

issues without permitting the parties to engage in discovery. On November 29, 2018, the

Court issued a scheduling order rejecting the Bureau’s argument and permitting

discovery on the disputed threshold legal issues. The scheduling order called for

discovery to close on February 22, 2019. In fact, discovery on the threshold issu es would

extend until February 12, 2020.

      17.    On December 17, 2018, Kathleen Kraninger, who had been confirmed by

the Senate, became the Bureau’s Director, replacing Acting Director Mick Mulvaney.

      18.    On December 21, 2018, less than thirty days after entry of the scheduling

order, the Bureau served requests for documents on certain Intervenors and served

subpoenas for documents on certain third parties regarding the threshold legal issues.

From that date until the close of discovery, the Bureau prosecuted this action vigorously,

including by litigating numerous discovery disputes.

      19.    Briefing on the threshold legal issues related to the proposed consent

judgment that had been filed with the Bureau’s original complaint was completed on

April 30, 2020. On May 31, 2020, the Court denied the motion to approve the proposed


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consent judgment on the ground that the counsel who had executed the settlement on

Defendants’ behalf did not have authority to do so.

       20.    On June 11, 2020, the Bureau served a summons and the complaint on

Defendants via process server. Service was necessary after the Court denied entry of the

settlement, which had included a waiver of service .

       21.    On June 29, 2020, the Supreme Court issued its ruling in Seila Law, LLC,

v. Consumer Financial Protection Bureau, 140 S. Ct. 2183 (2020), holding that the “for

cause” removal provision contained in the CFPA was unconstitutional but severable

from the rest of the statute.

       22.    On July 2, 2020, the Bureau filed an application for entry of default

against Defendants for failure to timely answer or respond to the complaint.

       23.    On July 10, 2020, certain Intervenors moved to dismiss this action under

Rules 12(b)(1) and (6), arguing for the first time that because of the CFPA’s for-cause

removal provision, the Bureau lacked authority to file its complaint in September 2017.

       24.    On July 17, 2020, the Bureau filed a declaration executed by Director

Kraninger ratifying the 2017 filing of this action.

       25.    On February 5 and 10, 2021, counsel for Defendants appeared for the first

time in the action since July 10, 2018.

         DEFENDANTS’ BUSINESS STRUCTURE AND OPERATIONS

       26.    The fifteen Defendants were organized between 2001 and 2007 under the

Delaware Statutory Trusts Act. Del. Code Ann. tit. 12, § 3801 et seq.

       27.    The basic purpose of each Defendant is to acquire a pool of private student

loans, to issue notes secured by that pool of student loans, and to service and collect on

those student loans.


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       28.    The activities and operations Defendants engage in to execute their basic

purposes are delineated in a number of agreements, collectively referred to as the Trust-

Related Agreements. These agreements include, but are not limited to, for each Trust, a

Trust Agreement, an Indenture, an Administration Agreement, and servicing

agreements defining how Defendants’ loan servicing and debt collection activities are to

be carried out.

       29.    Defendants act in their own name. However, they do not act through

employees or officers. Instead, Defendants act through entities that are empowered

according to relevant Trust-Related Agreements to act in the Trusts’ name. The Trusts

also contracted with entities that acted as the Trusts’ agents.

       30.    The Trusts explicitly represent and covenant in their Trust Agreements

and Indentures that they will act only in their own name.

       31.    The Trusts explicitly represent and covenant in their Trust Agreements

and Indentures that they will engage in the business of acquiring, owning, and servicing

student loans.

       32.    The Trusts explicitly represent and covenant in their Indentures that they

are responsible for compliance with all Federal laws and regulations applicable to the

acquired student loans.

       33.    The Trusts explicitly represent in their Indentures that the actions of

entities acting within the prescribed authority of relevant Trust-Related Agreements are,

legally, the actions of the Trusts themselves.

       34.    The Trusts acquired more than 800,000 private student loans from

originating lenders.




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        35.    The Trusts engage in regular servicing of these student loans through

certain designated entities including Intervenor Pennsylvania Higher Education

Assistance Agency. In the Indentures, the Trusts explicitly represent that the actions of

these entities, acting within the prescribed authority of relevant servicing agreements,

are, legally, the actions of the Trusts themselves.

        36.    The Trusts also engage in delinquent or default servicing and debt

collection activities through certain designated entities, and contract with subservicers

to assist in these activities.

        37.    Debt collection activities include the filing of debt collection lawsuits filed

against allegedly defaulted borrowers. Thousands of debt collection lawsu its have been

filed against borrowers whose loans are held or allegedly held by the Trusts since 2012.

In these lawsuits the relevant Trust is the named plaintiff in the action. Relevant Trusts

are also named as defendants in countersuits or other actions related to the allegedly

held debt by borrowers. The relevant Trusts have defended such actions in their own

name.

        38.    In 2009, the Trusts entered into the Special Servicing Agreement (“SSA”).

The SSA appointed a “Special Servicer” to ensure the servicing, collection, and litigation

of delinquent and defaulted student loans.

        39.    When acting pursuant to the SSA the Special Servicer acts for and

represents the Trusts, and the Special Servicer’s actions are deemed to be the actions of

the Trusts.

        40.    The SSA required that the Trusts, acting through the Special Servicer, hire

subservicers to enforce and collect on delinquent and defaulted student loans.




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       41.    The SSA empowered the Trusts, acting through the Special Servicer, to

oversee, supervise, and direct the subservicers.

       42.    In 2012, upon the resignation of the Special Servicer and pursuant to the

terms of the SSA, the Back-Up Special Servicer, Intervenor US Bank, assumed the role

of Special Servicer.

       43.    Upon assumption of the role of Special Servicer, the Back-Up Special

Servicer became subject to all of the terms and conditions of the SSA.

       44.    The SSA required that the Trusts, acting through the Special Servicer,

enter into and adhere to the Default Prevention and Collection Services Agreement

(“DPCSA”) to engage a “Subservicer” to enforce and collect on delinquent and defaulted

student loans.

       45.    Under the DPCSA the Trusts, acting through the Special Servicer, had the

right to exercise control over the Subservicer by, among other things:

              a. replacing the Subservicer;

              b. directing the means and manner by which the Subservicer engaged in

                 the services it provided under the DPCSA;

              c. exercising control over who the Subservicer employed or contracted

                 with to engage in the services it provided under the DPCSA;

              d. retaining the right to audit the Subservicer’s books and records;

              e. overseeing the Subservicer’s provision of services under the DPCSA;

              f. requiring the Subservicer to provide monthly reports on its provision of

                 services under the DPCSA; and




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             g. maintaining authority over the terms of the operating guidelines that

                 dictated how the Subservicer could engage in collections litigation

                 under the DPCSA.

      46.    The DPCSA provides that the Subservicer is engaged for the benefit of the

Trusts, including by providing that:

             a. the Subservicer agrees to take no action that would damage the

                 reputation of the Trusts;

             b. the Subservicer agrees to disclose that it is acting in a representative

                 capacity on behalf of the Trusts when hiring counsel to engage in debt

                 collections litigation, and when preparing any document in support of

                 debt collections litigation filed for the Trusts’ benefit;

             c. the Subservicer is appointed to maintain records on the Trusts’ behalf;

             d. the Subservicer is compensated for its services under the DPCSA by the

                 Trusts; and

             e. the Subservicer deposits money collected as a result of its services

                 under the DPCSA into accounts maintained for the Trusts’ benefit.

      47.    As of March 1, 2009, the Subservicer appointed by the DCPSA was NCO

Financial Systems, Inc.

      48.    Since November 1, 2014, the Subservicer appointed by the DPCSA, as

amended, has been Intervenor Transworld Systems, Inc.

      49.    Pursuant to its obligations to the Trusts under the DPCSA, the

Subservicers executed and notarized deceptive affidavits and caused them to be filed in

debt collection actions brought on behalf of the Trusts.




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      50.     Pursuant to its obligations to the Trusts under the DPCSA, the

Subservicers filed or caused to be filed collections lawsuits lacking documentation

needed to prove ownership of the loans.

            FALSE AND MISLEADING AFFIDAVITS AND TESTIMONY

      51.     In connection with collecting or attempting to collect debt from

consumers, between November 1, 2012, and April 25, 2016, the Subservicers, acting on

behalf of Defendants, initiated 94,046 collections lawsuits in courts across the country.

      52.     In each of these collections lawsuits, the relevant Defendant that

purported to own the subject student loan was listed as the named plaintiff.

      53.     In support of the collections lawsuits, the Subservicers acting on behalf of

Defendants submitted affidavits and documents in support of Defendants’ claims that

consumers owed debts to Defendants.

      54.     The Subservicers’ affiants executed and notarized affidavits on behalf of

Defendants, and caused those affidavits to be filed—often attaching exhibits—in

Defendants’ collections lawsuits.

      55.     In these affidavits, the affiants swore that they had personal knowledge of

the student loan records evidencing the debt.

      56.     In fact, in numerous instances, affiants lacked personal knowledge of the

student loan records evidencing the debt when they executed the affidavits.

      57.     The affiants also swore in the affidavits that they were authorized and

competent to testify about the consumers’ debts through review of and “personal

knowledge” of the business records, including electronic data, in their possession.




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        58.   In fact, in numerous instances, affiants lacked personal knowledge of the

business records, including the electronic data, showing that consumers owed debts to

Defendants.

        59.   Affiants were instructed to review data on a computer screen to verify

information in the affidavits about the debts. Affiants, however, did not know the source

of the data on that screen, how the data was obtained or maintained, whether it was

accurate, or whether those data meant that the debt was in fact owed to Defendants.

        60.   Each affiant also swore that he or she had “personal knowledge of the

record management practices and procedures of Plaintiff [the Trust] and the practices

and procedures Plaintiff requires of its loan servicers and other agents.”

        61.   In fact, affiants lacked personal knowledge of the record m anagement

practices and procedures of Defendants or the practices and procedures of the entities

through which Defendants acted.

        62.   In many affidavits, the affiants also swore, “I have reviewed the chain of

title records as business records” regarding the relevant account.

        63.   In fact, in numerous instances, affiants did not review the chain of

assignment records prior to executing the affidavits. In some cases, affiants reviewed

only “chain of title” records that had been found online. In fact, the Subservicers

instructed affiants that they did not need to review the chain of assignment records

before executing affidavits that represented that the affiant had reviewed those records.

        64.   In fact, affiants did not have access to deposit and sale agreements—the

last link in the chain of assignment transferring loans into the Trust—until May 30,

2014.




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       65.    In many affidavits, the affiants asserted that they had personal knowledge

that the loans were transferred, sold, and assigned to the Trusts on dates certain.

       66.    In fact, affiants lacked personal knowledge of the chain of assignment

records necessary to prove that the relevant Trust owned the subject loan.

       67.    In some instances, when affiants complained to management that they did

not have personal knowledge of certain representations made in the affidavits, the

Subservicers instructed the affiants to continue signing the affidavits. In some instances,

affiants felt “bullied” by management and followed the instructions for fear of losing

their jobs.

       68.    On numerous occasions, to address a backlog of affidavits, employees of

the Subservicers such as interns and mailroom clerks were instructed to execute

affidavits.

       69.    On numerous occasions, between November 1, 2012, and September 1,

2013, the Subservicer filed stale affidavits that had earlier been executed by a previous

entity. Contrary to the statements in the affidavits, the affiants in question were no

longer “authorized to testify” in the matter and no longer had access to or knowledge of

the consumer’s account records or debt.

       70.    Affiants also later provided live testimony in court, purportedly based on

personal knowledge, similar to the statements made in the affidavits as described in

Paragraphs 55–66.

                     IMPROPERLY NOTARIZED AFFIDAVITS

       71.    Between November 1, 2012, and August 3, 2014, in connection with

collecting or attempting to collect debt from consumers, Defendants’ Subservicers acting

on behalf of Defendants filed at least 11,412 affidavits in collections lawsuits.


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       72.     Between November 1, 2012, and August 3, 2014, Defendants’ Subservicer

acting on behalf of Defendants improperly notarized virtually every affidavit executed

and filed.

       73.     Affiants executed the affidavits outside the presence of the notary.

       74.     Affiants placed executed affidavits in a specified location.

       75.     Defendants’ Subservicers’ notaries later notarized stacks of previously

signed affidavits all at once at their desks.

       76.     Contrary to the representations in the affidavits, affiants did not

personally appear before notaries.

       77.     Contrary to the representations in the affidavits, notaries did not place the

affiants under oath or witness their signatures.

       78.     On numerous occasions, notaries notarized affidavits executed by affiants

on a prior date. At least one of Defendants’ Subservicers instructed notaries to ensure

that the notarization date matched the date of execution, even if that meant backdating

the notarization date.

       79.     In many cases, the notaries did in fact back date their notarization of the

affidavits.

              FILING LAWSUITS WITHOUT THE INTENT OR ABILITY
                    TO PROVE THE CLAIMS, IF CONTESTED

       80.     Defendants filed at least 1,214 collections lawsuits against consumers even

though the documentation needed to prove they owned the loans was missing. Through




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these lawsuits, Defendants obtained approximately $21,768,807 in judgments against

consumers.

       81.    In these lawsuits, documentation of a complete chain of assignment

evidencing that the subject loan was transferred to Defendants was missing.

       82.    In addition, Defendants filed at least 812 collections lawsuits where the

documentation did not support the Trusts’ ownership of the loans. The chain of

assignment documentation shows that these loans were allegedly transferred to

Defendants before they were in fact disbursed to consumers.

       83.    In at least 208 other collections lawsuits, the promissory note to prove

that a debt was owed did not exist or could not be located.

       84.    For each collections lawsuit described in Paragraphs 80-83, Defendants

could not prove that a debt was owed to Defendants, if contested.

       85.    Defendants knew, or their processes should have uncovered, that these

chain of assignment documents were missing or flawed, yet Defendants continued to file

collections lawsuits.

                        COLLECTION OF TIME-BARRED DEBT

       86.    In at least 486 collections lawsuits, in connection with collecting or

attempting to collect debt from consumers, Defendants filed a collections lawsuit

outside the applicable statute of limitations.

       87.    In numerous instances, in connection with collecting or attempting to

collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

implication, including by the filing of collections lawsuits itself, that the Trusts had a

legal right to obtain judgment through their collections lawsuits.




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                THE CONSUMER FINANCIAL PROTECTION ACT

      88.    The CFPA provides that it is unlawful for any covered person “to offer or

provide to a consumer any financial product or service not in conformity with Federal

consumer financial law, or otherwise commit any act or omission in violation of a

Federal consumer financial law.” 12 U.S.C. § 5536(a)(1)(A). The CFPA grants the Bureau

authority to commence a civil action against any person who violates a Federal

consumer financial law, such as the CFPA. 12 U.S.C. § 5564(a).

                            VIOLATIONS OF THE CFPA

      89.    The CFPA prohibits a covered person from committing or engaging in any

“unfair, deceptive, or abusive act or practice” in connection with any transaction with a

consumer for a consumer financial product or service, or the offering of a consumer

financial product or service. 12 U.S.C. §§ 5531, 5536(a)(1)(B).

      90.    Servicing loans and collecting debt are “consumer financial products or

services” under the CFPA. 12 U.S.C. § 5481(15)(A)(i), (x).

                            DECEPTIVE ACTS OR PRACTICES

                                           COUNT I

                    False and Misleading Affidavits and Testimony

      91.    The Bureau incorporates the allegations in Paragraphs 1–70 by reference.

      92.    In numerous instances, in connection with collecting or attempting to

collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

implication, that affiants or witnesses in court had personal knowledge of the student

loan records evidencing the debt.

      93.    In fact, in numerous instances those representations were false because

affiants and witnesses lacked personal knowledge of the student loan records evidencing


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the debt when they executed the affidavits.

       94.    In numerous instances, Defendants represented to consumers, directly or

indirectly, expressly or by implication, that affiants and witnesses had personal

knowledge of the record management practices and procedures of the Trusts and the

practices and procedures of the entities through which the Trusts acted.

       95.    In fact, in numerous instances those representations were false because

affiants and witnesses lacked personal knowledge of the record management practices

and procedures of the Trusts and the practices and procedures of the entities through

which the Trusts acted.

       96.    In numerous instances, Defendants represented to consumers, directly or

indirectly, expressly or by implication, that affiants and witnesses had reviewed the

chain of title records and asserted that they had personal knowledge that the loans were

transferred, sold, and assigned to the Trusts on dates certain.

       97.    In fact, in numerous instances those representations were false because,

affiants and witnesses had not reviewed the chain of title records and lacked personal

knowledge that the loans were transferred, sold and assigned to the Trusts.

       98.    Defendants’ false representations set forth in Paragraphs 92–97 are

material and likely to mislead consumers acting reasonably under the circumstances.

       99.    Defendants’ false representations set forth in Paragraphs 92-97 constitute

deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531, 5536 (a)(1)(B).

                                       COUNT II

                          Improperly Notarized Affidavits

       100.   The Bureau incorporates the allegations in Paragraphs 1–50 and 71—79 by




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reference.

       101.   In numerous instances, in connection with collecting or attempting to

collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

implication, that the affidavits submitted in support of their collections lawsuits were

properly sworn and executed before a notary.

       102.   In fact, in numerous instances those representations were false because

the affidavits were unsworn and executed outside the presence of a notary.

       103.   Defendants’ false representations set forth in Paragraphs 101–102 are

material and likely to mislead consumers acting reasonably under the circumstances.

       104.   Defendants’ false representations set forth in Paragraph 101–102

constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

5536(a)(1)(B).

                                       COUNT III

     Filing Lawsuits without the Intent or Ability to Prove the Claims, if
                                 Contested

       105.   The Bureau incorporates the allegations in Paragraphs 1–50 and 80-85 by

reference.

       106.   In numerous instances, in connection with collecting or attempting to

collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

implication, that collections lawsuits were supported by valid and reliable legal

documentation needed to obtain judgment.

       107.   In fact, in connection with numerous lawsuits, those representations were

false because documentation of a complete chain of assignment evidencing that the

subject loan was transferred to Defendants was missing.



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       108.   In fact, in connection with numerous lawsuits, those representations were

false because a promissory note proving the existence of the debt was missing.

       109.   In fact, in connection with numerous lawsuits, those representations were

false because the Trusts could not prove their claims, if contested.

       110.   Defendants’ false representations set forth in Paragraphs 106–109 are

material and likely to mislead consumers acting reasonably under the circumstances.

       111.   Defendants’ false representations set forth in Paragraph 106–109

constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

5536(a)(1)(B).

                                       COUNT IV

                          Collection of Time-Barred Debt

       112.   The Bureau incorporates the allegations in Paragraphs 1–50 and 86-87 by

reference.

       113.   In numerous instances, in connection with collecting or attempting to

collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

implication, that the Trusts had a legal right to obtain judgment through their

collections lawsuits.

       114.   In fact, in numerous instances those representations were false because

the statute of limitations on these loans had expired.

       115.   Defendants’ false representations set forth in Paragraphs 113–114 are

material and likely to mislead consumers acting reasonably under the circumstances.

       116.   Defendants’ false representations set forth in Paragraph 113–114

constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

5536(a)(1)(B).


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                            UNFAIR ACTS OR PRACTICES

                                         COUNT V

     Filing Lawsuits without the Intent or Ability to Prove the Claims, if
                                 Contested

       117.   The Bureau incorporates the allegations in Paragraphs 1–50 and 80-85 by

reference.

       118.   Under section 1031 of the CFPA, an act or practice is unfair if it causes or is

likely to cause substantial injury to consumers which is not reasonably avoidable by

consumers, and such substantial injury is not outweighed by countervailing benefits to

consumers or to competition. 12 U.S.C. §§ 5531(c), 5536(a)(1)(B).

       119.   In numerous instances, in connection with collecting or attempting to

collect debt through collections lawsuits, Defendants filed collections lawsuits without

the intent or ability to prove the claims, if contested.

       120.   Defendants’ acts or practices have caused or were likely to cause

substantial injury to consumers, estimated to be at least $3.5 million in payments made

in connection with these lawsuits.

       121.   Consumers could not reasonably avoid the harm, and the harm was not

outweighed by countervailing benefits to consumers or competition.

       122.   Defendants’ acts or practices set forth in Paragraph 119–121 constitute

unfair acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531(c), 5536(a)(1)(B).

                                 CONSUMER INJURY

       123.   Consumers have suffered or were likely to suffer substantial injury as a

result of Defendants’ violations of the CFPA. In addition, Defendants have been unjustly




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enriched as a result of their unlawful acts or practices.

                     THIS COURT’S POWER TO GRANT RELIEF

       124.    The CFPA empowers this Court to grant any appropriate legal or equitable

relief including, without limitation, a permanent or temporary injunction, rescission or

reformation of contracts, the refund of moneys paid, restitution, disgorgement or

compensation for unjust enrichment, payments of damages or other monetary relief,

limits on the activities or functions of Defendants, and civil money penalties. 12 U.S.C.

§ 5565(a). In addition, the CFPB may recover its costs in connection with the action, if it

is the prevailing party. 12 U.S.C. § 5565(b).

                                 DEMAND FOR RELIEF

       125.      Wherefore, the Bureau requests that the Court:

              a. Permanently enjoin Defendants from committing future violations of the

                 CFPA;

              b. Grant additional injunctive relief as the Court may deem to be just and

                 proper;

              c. Award such relief as the Court finds necessary to redress injury to

                 consumers resulting from Defendants’ violations of the CFPA, including,

                 but not limited to, rescission or reformation of contracts, the refund of

                 moneys paid, restitution, disgorgement or compensation for unjust

                 enrichment, and payment of damages or other monetary relief;

              d. Award the Bureau civil money penalties; and

              e. Award the Bureau the costs of bringing this action, as well as such other




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              and additional relief as the Court may determine to be just and proper.



Dated: April 30, 2021



                                       Respectfully submitted,

                                       Cara M. Petersen
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